✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                      UNITED STATES DISTRICT COURT
                          EASTERN                                DISTRICT OF                                       TENNESSEE



              UNITED STATES OF AMERICA
                                                                                       EXHIBIT AND WITNESS LIST
                                V.
                    BENJAMIN CARPENTER                                                       Case Number: 3:21-CR-38

PRESIDING JUDGE                                    PLAINTIFF’S ATTORNEY                                DEFENDANT’S ATTORNEY
 Debra C. Poplin                                   Casey Arrowood                                       Benjamin Sharp
TRIAL DATE (S)                                     COURT REPORTER                                      COURTROOM DEPUTY
 April 5, 2021                                     Elizabeth Coffey                                     Rachel Stone
 PLF.     DEF.         DATE
                                MARKED ADMITTED                                 DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.      NO.        OFFERED

   1                 4/5/2021     X            X   Indictment

   2                 4/5/2021     X            X   Redacted Search Warrant Affidavit

  3*                 4/5/2021     X            X   “From Dabiq to Rome” Newsletter Issue #28

  4*                 4/5/2021     X            X   “From Dabiq to Rome” Newsletter Issue #29

  5*                 4/5/2021     X            X   “From Dabiq to Rome” Newsletter Issue #30

  6*                 4/5/2021     X            X   Photograph from Search of Premises

  7*                 4/5/2021     X            X   ATP Group Communications

  8*                 4/5/2021     X            X   Photograph from Search of Premises

  9*                 4/5/2021     X            X   ATP Group Communications

  10                 4/5/2021     X            X   USAO-NDIL Press Release (September 20, 2016)

  11                 4/5/2021     X            X   U.S. Department of the Treasury Press Release (September 10, 2019)

  12                 4/5/2021     X            X   Radio Free Europe Article (October 24, 2019)

  13                 4/5/2021     X            X   U.S. Department of Justice Press Release (August 30, 2019)

  14                 4/5/2021     X            X   Press Association Regional Newswire Article: West Midlands (October 19, 2020)

 15*                 4/5/2021     X            X   Article: “The Issue of Beheading”

 16*                 4/5/2021     X            X   Article: “The Islamic Ruling on the Permissibility of Self-Sacrificial Operations”

 17*                 4/5/2021     X            X   Article: “A Treatise on the Legal Status of Using Weapons of Mass Destruction Against Infidels”

 18*                 4/5/2021     X            X   Article: “Ruling on Fighting Americans Outside Iraq”

 19*                 4/5/2021     X            X   Article: “The Clarification Regarding Intentionally Targeting Women and Children”

 20*                 4/5/2021     X            X   Video: “For the Sake of Allah”

 21*                 4/5/2021     X            X   Video: “The Rank”

 22*                 4/5/2021     X            X   ATP Group Communications
* Sealed exhibits

                                                                                                                  Page 1 of     2       Pages
✎AO 187A (Rev. 7/87)              EXHIBIT AND WITNESS LIST – CONTINUATION
                                                                                             CASE NO.
                       US                 vs.             Benjamin Carpenter                 3:21-cr-38
 PLF.   DEF.     DATE
                            MARKED ADMITTED                               DESCRIPTION OF EXHIBITS AND WITNESSES
 NO.    NO.    OFFERED

 23*            4/5/2021      X       X         ATP Group Communications


 24*            4/5/2021      X       X         ATP Group Communications

 25*            4/5/2021      X       X         Amended Pretrial Services Report

         W      4/5/2021                        Denise Carpenter




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